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                         UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF IDAHO



 LARRY DANA,
                                                Case No. 1:18-cv-00298-CWD
                      Plaintiff,
                                                SCHEDULING ORDER
        v.

 HENRY ATENCIO; KEITH YORDY;
 D.W. McKAY; E. ADKISSON; W.
 CAMPBELL; CPL. WALTON;
 CORIZON CORRECTIONAL
 HEALTHCARE; S. PIERSON; G.
 ROBERTS; R. SIEGERT; D.W.
 VALLEY; J. SCHNEIDER; C/O
 EVANCHO; and CLINICIAN
 NICODEMUS,

                      Defendants.


       Defendants Atencio and Adkisson, the only Defendants remaining in this action,

have filed an Answer. Therefore, it is appropriate for the Court to set a pretrial schedule

in this matter. The parties must follow the pretrial schedule set forth herein below, unless

a later order sets new deadlines.

                                         ORDER

       IT IS ORDERED that the following pretrial schedule will govern this case:

       1.     Disclosure of Relevant Information and Documents: If the parties have

              not already done so, within 28 days after entry of this Order, the parties

              must provide each other with relevant information and documents


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          pertaining to the claims and defenses in this case, including the names of

          individuals likely to have discoverable information, along with the subject

          of the information, as well as any relevant documents in their possession,

          in a redacted form if necessary for security or privilege purposes; and, if

          necessary, the disclosing party will provide a security/privilege log

          sufficiently describing any undisclosed relevant documents which are

          alleged to be subject to nondisclosure. Any party may request that the Court

          conduct an in camera review of withheld documents or information. In

          camera documents are to be filed ex parte under seal, and not provided by

          email or mail. The continuing duty to disclose relevant documents and

          information continues until the date of trial or the date the case is

          dismissed.

     2.   Amendment of Pleadings and Joinder of Parties: All motions to amend

          pleadings or to join parties must be filed within 90 days after entry of this

          Order.

     3.   Scope of Discovery: According to Federal Rule of Civil Procedure

          26(b)(1):

                   Unless otherwise limited by court order, the scope of
                   discovery is as follows: Parties may obtain discovery
                   regarding any nonprivileged matter that is relevant to
                   any party’s claim or defense and proportional to the
                   needs of the case, considering the importance of the
                   issues at stake in the action, the amount in controversy,
                   the parties’ relative access to relevant information, the
                   parties’ resources, the importance of the discovery in


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                 resolving the issues, and whether the burden or
                 expense of the proposed discovery outweighs its likely
                 benefit. Information within this scope of discovery
                 need not be admissible in evidence to be discoverable.

                 In this matter, the Court limits the scope of retrospective discovery

          to a time period of one year preceding the first event giving rise to a cause

          of action upon which Plaintiff is proceeding, unless good cause is shown.

          Should the parties disagree as to the scope of discovery in general, they are

          to confer by telephone to resolve their differences. If they are still unable to

          agree, they may file a motion of no more than three pages to explain why

          the scope should be narrower or wider than the other parties desire, with a

          response of no more than three pages.

     4.   Completion of Discovery and Requests for Subpoenas: All discovery

          must be completed on or before 180 days after entry of this Order.

          Discovery requests must be made far enough in advance to allow

          completion of the discovery in accordance with the applicable federal rules

          prior to this discovery cut-off date. Discovery is exchanged between

          parties, not filed with the Court. The Court is not involved in discovery

          unless the parties are unable to work out their differences between

          themselves as to whether the discovery responses are appropriate. In

          addition, all requests for subpoenas duces tecum (pretrial production of

          documents by nonparties) must be made within 150 days after entry of this

          Order. No requests for subpoenas duces tecum will be entertained after that


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          date. (Subpoena requests for trial appearances of witnesses must not be

          filed until the case is set for trial.) To obtain a subpoena duces tecum for

          production of documents by nonparties, Plaintiff must first submit to the

          Court the names, addresses, and the type of information sought from each

          person or entity to be subpoenaed, and Plaintiff must explain the relevance

          of the items requested to the claims. The Court will then determine whether

          the subpoenas should issue.

     5.   Depositions: Depositions, if any, must be completed within 180 days after

          entry of this Order. If Defendants wish to take the deposition of Plaintiff or

          other witnesses who are incarcerated, leave to do so is hereby granted. Any

          such depositions must be preceded by 21 days’ written notice to all parties

          and deponents. The parties and counsel will be professional and courteous

          to one another during the depositions. The court reporter, who is not a

          representative of Defendants, will be present to record all of the words

          spoken by Plaintiff (or other deponent), counsel, and any other persons at

          the deposition. If Plaintiff (or another deponent) wishes to ensure that the

          court reporter did not make mistakes in transcribing the deposition into a

          written form, then Plaintiff can request the opportunity to read and sign the

          deposition, noting any discrepancies between what is transcribed and what

          Plaintiff believes was said. If Plaintiff wishes to take depositions, Plaintiff

          must file a motion requesting permission to do so, specifically showing the



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          ability to comply with the applicable Federal Rules of Civil Procedure by

          providing the names of the proposed persons to be deposed, the name and

          address of the court reporter who will take the deposition, the estimated

          cost for the court reporter’s time and the recording, and the source of funds

          for payment of the cost.

     6.   Dispositive Motions: All motions for summary judgment and other

          potentially dispositive motions must be filed with accompanying briefs

          within 28 days after the close of discovery. Responsive briefs to such

          motions must be filed within 28 days after service of motions. Reply

          briefs, if any, must be filed within 14 days after service of responses.

          Submission of an earlier motion for summary judgment addressing

          procedural issues does not foreclose any party from later filing a

          motion for summary judgment on the merits.

     7.   All motions, responses, and replies must conform to Rule 7.1 of the Local

          Rules for the District of Idaho. Neither party may file supplemental

          responses, replies, affidavits, or other filings not authorized by the Local

          Rules without prior leave of Court. No motion or memorandum, typed or

          handwritten, may exceed 20 pages in length.

     8.   Alternative Dispute Resolution (ADR): Should Plaintiff and any

          Defendant wish to attend a settlement conference, they may file a




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          stipulation to attend settlement conference, and the case will then be

          referred to the Court’s ADR Director.



                                             DATED: February 8, 2019


                                             _________________________
                                             Honorable Candy W. Dale
                                             United States Magistrate Judge




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